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UNITED STATES OF AN|ER|CA

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NAU|V| BAHHUR
Robert lrby, CJA
Defense Attorney
4345 E. |Vla|lory
N|emphis, TN 38117

 

JUDGIV|ENT |N A CR|IVI|NAL CASE
(For Offenses Commit‘ted On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on January 25, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following offense:

Date Count
Title & section NMB__OfOftB§ Offense Nu_mms)
_QQM
18 U.S.C. § 371 Conspiracy to Buy, Steal, Pteceive, and 01/07/2004 1

Possess Goods From an interstate

Shipment and Transporting Stolen

Goods Across State L.ines
The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fteform Act of 1984 and the l\/|andatory
Victims Restitution Act of 1996

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 12/01/1961 Nlay 05, 2005
Deft’s U.S. l\/|arsha| No.: 19986-076

Defendant’s Mailing Address:
3075 N. Arbor P|ace, #207
Memphis, TN 38115

 

J. DANIEL BF{EEN
ED STATES D[STRICT JUDGE

lVlay l , 2005

Thle document entered on the docket sheet ln co/mpllancq
with sure 55 and/or ezjb) Fi=ich on d ' "@-\

 

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Case No: 2:04CR20426-B Defendant Name: Naum BAHHUR Page 2 of 6
lMPR|SONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 12 Months and 1 Day. Defendant’s Report Date
shall be deferred to July 22, 2005.
The Court recommends to the Bureau of Prisons:

- Placement at the Federal Correctional institution at Forest City, Arkansas.

The defendant shall surrender for service of sentence at the institution designated
by the Bureau of Prisons as notified by the United States l\/|arsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. |Vlarshal

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Case No: 2:04CFi20426-B Defendant Name: Naum BAHHUR Page 3 of 6

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|TIONS OF SUPERV|S|ON

1 . The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchasel possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 2:04CR20426-B Defendant Name: Naum BAHHUFt Page 4 of 6

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer; The defendant shall not enter into any agreement to act as an informer or a
special agent of a law enforcement agency without the permission of the court;

10. As directed by the probation officerl the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

11. |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Nlonetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED FlELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1 ) Cooperate with DNA collection as directed by the Probation Officer.
2) Participate in substance abuse testing and treatment programs as directed by the
Probation Officer.

CR||V|INAL NIONETAHY PENALTIES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). Ali of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Tota| Fine Tota| Restitution
$100.00 $81,000.00

The Special Assessment shall be due immediately
F|NE

No fine imposed.

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REST|TUT|ON

Ftestitution in the amount of $81,000.00 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed below.

 

Priority
Tota| Amount of Order
Name of payee Amount Restitution Ordered or
of Loss Percentage
of Payment
FLEXTFtONlCS, lNC., 381,000.00 $81.000.00
Attn: ALLAN HAFtKLEROAD,
CONTROLLEFt

6419 Shelby View Drive
Memphis, TN 38119

lf the defendant makes a partial payment each payee shall receive an approximately

proportional payment unless specified othenivise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered Wiil be the same unless,

pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Fieasons page.

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Case No: 2:04CR20426-B Defendant Name: Naum BAHHUFt Page 6 of 6

SCHEDULE OF PAY|V|ENTS

Having assessed the defendants ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Specia| instructions regarding the payment of criminal monetary penalties:

Defendant shall pay restitution in regular monthly installments of not less than 10%
of gross monthly income. interest requirement is waived.

Uniess the court has expressly ordered othenNise in the special instructions above, if this judgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment. Ali criminal monetary penalties, except those payments made through the
Federai Bureau of Prisons’ inmate Financial Ftesponsibiiity Program, are made to the clerk of the
court unless otherwise directed by the court the probation officer, or the United States attorney.

The defendant shall receive credit for ali payments previously made toward any criminal monetary
penalties imposed

Joint and Severai
Defendant Name, Case Number, and Joint and Severai Amount:

Fadi Bahhur, Nader Bahhur, Eric Hai|, and Fieginald Evans

ISIC COURT - WESTRNE D'S'TRCT 0 TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:04-CR-20426 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

Robert C. Irby

LAW OFFICE OF ROBERT C. IRBY
4345 E. Mallory

i\/lemphis7 TN 38111

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

